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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-053 JAM
12                                   Plaintiff,           STIPULATION AND ORDER CONTINUING
                                                          JUDGMENT AND SENTENCING OF
13                            v.                          DEFENDANT MANUEL AGUEROS
14   TIMOTHY CHAPIN,                                      DATE: May 15, 2018
     MANUEL AGUEROS,                                      TIME: 9:15 a.m.
15   PAUL FOURNIER,                                       COURT: Hon. John A. Mendez
     ROBERT LAUTENSLAGER,
16   JEFFREY REILLEY,
     JORGE EGUILUZ,
17
                                    Defendants.
18

19

20                                                STIPULATION

21           1.      By previous order, this matter was set for judgment and sentencing on May 15, 2018.

22           2.      By this stipulation, the United States of America (“government”) and defendant Manuel

23 Agueros (“defendant”) now move to continue the judgment and sentencing until October 30, 2018, at

24 9:15 a.m., on the basis of the complexity of this case, the defendant’s desire to provide additional

25 information to the U.S. Probation Officer, the parties’ efforts to stipulate to a restitution figure, and

26 availability of counsel due to trial and vacation schedules.

27           3.      The government and the defendant further stipulate to the following briefing schedule

28 related to the judgment and sentencing proceeding:

       STIPULATION AND [PROPOSED] ORDER                   1
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 1                  a)      Judgment and Sentencing Date: October 30, 2018

 2                  b)      Reply, or Statement of Non-Opposition: September 4, 2018

 3                  c)      Motion for Correction of Presentence Investigation Report shall be filed with the

 4          Court and served on the Probation and Opposing Counsel no later than: August 28, 2018

 5                  d)      The Presentence Investigation Report shall be filed with the Court and disclosed

 6          to counsel no later than: August 21, 2018

 7                  e)      Counsel’s written objections to the proposed Presentence Investigation Report

 8          shall be delivered to the Probation Officer and opposing counsel no later than: August 14, 2018,

 9          2018

10                  f)      The proposed Presentence Investigation Report shall be disclosed to counsel no

11          later than: July 31, 2018

12          4.      The U.S. Probation Officer has been consulted about the proposed judgment and

13 sentencing date, as well as the proposed briefing schedule, and has no objection to the proposals.

14          IT IS SO STIPULATED.

15
     Dated: April 10, 2018                                   MCGREGOR W. SCOTT
16                                                           United States Attorney
17
                                                             /s/ NIRAV K. DESAI
18                                                           NIRAV K. DESAI
                                                             Assistant United States Attorney
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20
     Dated: April 10, 2018                                   /s/ Nirav K. Desai for Kresta
21                                                           Daly
                                                             (authorized on April 10, 2018)
22                                                           KRESTA DALY, ESQ.
23                                                           Counsel for Defendant
                                                             MANUEL AGUEROS
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      STIPULATION AND [PROPOSED] ORDER                   2
      U.S. V. CHAPIN ET AL., 2:17-CR-053 JAM
              Case 2:17-cr-00053-JAM Document 114 Filed 04/11/18 Page 3 of 3


 1

 2                                                  ORDER

 3          Upon review and consideration of the stipulation of the government and defendant Manuel

 4 Agueros, IT IS HEREBY ORDERED that:

 5          1.      Judgment and sentencing of defendant Manuel Agueros is continued to October 30, 2018,

 6 at 9:15 a.m.

 7          2.      The parties’ briefing schedule set forth in the stipulation is ADOPTED.

 8          IT IS SO ORDERED.

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10 DATED: 4/11/2018
                                                       /s/ John A. Mendez
11                                                   THE HONORABLE JOHN A. MENDEZ
                                                     UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION AND [PROPOSED] ORDER                  3
      U.S. V. CHAPIN ET AL., 2:17-CR-053 JAM
